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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                             OFFICE OF THE CLERK



Felicia C. Cannon, Clerk                                                              Reply to Northern Division Address
Catherine M. Stavlas, Chief Deputy
Elizabeth B. Snowden, Chief Deputy



                                                      July 12, 2019




                         RECEIPT FOR SURRENDER OF PASSPORT



                                                                                                USA v. Darryl Albert Varnum
                                                                                                       1:19−mj−02251−JMC




Received 7/12/2019 from Jill Varnum, one passport ending with 1389 issued by the
country of the United States of America which is being surrendered to the Court as a
special condition of the defendant's release. This passport is to be held in the custody of the
Court until further ordered. Following the termination of these proceedings, the Clerk will
order the destruction of any passport in custody beyond twenty years from date of issuance
of the passport.




                                                                                       Very truly yours,
                                                                                                  /s/
                                                                                       Felicia C. Cannon
                                                                                       Clerk, U.S. District Court
                                                                                       District of Maryland
                                                                                       prepared by: O. Lewis




      Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
      Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                    Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
